449 F.2d 788
    UNITED STATES of America, Plaintiff and Appellee,v.Dorothy J. HENDERSON, Clyde Williams, Jr., Appellants.
    Nos. 26028, 26029.
    United States Court of Appeals,Ninth Circuit.
    Aug. 10, 1971.Rehearing Denied Sept. 13, 1971.
    
      Michael W. Roberts (argued), of Boyko &amp; Simmons, Los Angeles, Cal., for appellants.
      Eric Nobles, Asst. U. S. Atty., &amp; Chief, Criminal Division (argued), Robert L. Meyer, U. S. Atty., Los Angeles, Cal., for appellee.
      Before CHAMBERS and MERRILL, Circuit Judges, and THOMPSON,* District Judge.
      PER CURIAM:
    
    
      1
      The judgments of conviction in this narcotics conspiracy case are affirmed.
    
    
      2
      Appellants' first point is concluded by Turner v. United States, 396 U.S. 398, 90 S.Ct. 642, 24 L.Ed.2d 610.
    
    
      3
      Objection is made to the search of an automobile when one Simpson was arrested.  But the only important search was that of Simpson's pocketbook, and there was probable cause to arrest her and to search her pocketbook.
    
    
      4
      We have examined some twelve other points made and find them not substantial.
    
    
      
        *
         Bruce R. Thompson, judge of the United States District Court for the District of Nevada, sitting by designation
      
    
    